
HILL, Circuit Judge,
dissenting:
In view of the majority’s amendment of the panel opinion, I strike the introductory paragraph of the original dissent, substitute the following, and leave the remainder unchanged.
The panel’s amended opinion appears to me to be designed to limit its holding to the narrow proposition, already the law in this circuit, that a district court judge may not reject a magistrate judge’s credibility findings without a hearing. The reaffirmation of this proposition is, in the revised opinion, now totally divorced from the facts of this case, from the legal standards applicable to Section 1927 sanctions, and from the validity vel non of the district court’s holding that the Amlongs’ conduct was sanctionable. Surely, we have not labored so long for so little.
The narrowing of the majority’s holding by the revised opinion does, however, in my view, clearly illuminate the error inherent in the remand — it is not required. It is now clear that all concerned agree on the facts concerning the Amlongs’ conduct of this case. All further agree that the correct legal standard to be applied in this case is an objective one. Finally, all agree that the issue that must be resolved in this case is whether it was objectively reasonable for the Amlongs to have conducted this case in the manner in which they did.
This is what the magistrate judge initially did. He found the underlying claim to have been patently frivolous and the Amlongs’ actions in pursuit of the claim to have grossly transgressed our rules governing the conduct of litigation. He went on, however, to adopt the erroneous view that a lack of subjective bad faith on the part of counsel could immunize their objectively bad conduct from sanctions.
This is not the law in our circuit and the district court quite rightly refused to adopt this conclusion. She held that, having found the conduct to be objectively unreasonable, it was within her discretion to sanction the Amlongs, and she did.
*1253No one now suggests that it was not within her authority to do so. The majority’s revision makes clear that the district court would not abuse her discretion on remand should she reimpose sanctions without any finding whatsoever as to the Amlongs’ subjective good or bad faith. In this circuit, the statute permits the district court to impose sanctions without considering counsel’s subjective state of mind.
It is error, then, to hold that remand is required because the district judge may have (we do not know since she made no finding on this issue) disagreed with the magistrate judge on the issue of the Amlongs’ subjective good faith in the conduct of the case. How can such a remand be required when all now agree that this issue is not necessary to the resolution of this case.
I continue to dissent, respectfully, to the vacation of the district court’s order and remand. I should affirm.
I.
The district judge in this case sanctioned the plaintiffs attorneys, Karen and William Amlong and their law firm, under 28 U.S.C. § 1927, for their unreasonable and vexatious pursuit of their client’s patently frivolous claim. For the past ten years, the parties have litigated the award of these sanctions.
The magistrate judge conducted an extensive evidentiary hearing on defendants’ motions for sanctions over the course of four days, producing a 500-page evidentia-ry record and a sixteen-page Report and Recommendation. The district court conducted its own de novo review of the motions and issued a thirty-seven page order awarding sanctions. The Amlongs moved for reconsideration, to which the defendants were forced to respond, and the district court issued another order reaffirming the award.
Subsequently, the matter was referred to a different magistrate to determine the amount of the award. After still more evidentiary hearings, the magistrate issued his Report and Recommendation on the amount of sanctions to be awarded. The Amlongs objected. After another de novo review, the district court entered a monetary judgment. The Amlongs appealed.
As the Amlongs concede, “[from 1996] to the time this appeal was filed, the only issue before the lower Court was resolution of two motions for sanctions against counsel representing the Plaintiff.” Despite these ten years of litigation on the sole issue of sanctions, and the enormous amount of judicial resources that the judges of the Southern District of Florida have already invested in deciding this issue, the majority today announces that the job is not done.
The majority instructs the district court that it abused its discretion by not having yet another evidentiary hearing, this time to listen to Karen Amlong testify to her good intentions in the conduct of this litigation. Since the law of this circuit does not permit the district court to consider her subjective good intentions in deciding the issue of sanctions, I respectfully dissent from the holding that the district court erred in not hearing the testimony.
Even more importantly from an institutional point of view, our holding today will revise the binding law of this circuit to substitute a subjective test for the objective one that we now apply in deciding whether counsel’s conduct may be sanctioned under Section 1927. This substitution will eviscerate the ability of our district courts to sanction exactly the sort of conduct that the district court in this case found to be a reckless abuse of the judicial process. Since a panel of this court may not undertake such a revision, I cannot join the opinion.
*1254II.
Although the facts are recited in the majority opinion, there are some substantive omissions that I believe must be included, so I begin with the underlying action.
A. The Underlying Action
Floride Norelus, a citizen of Haiti, illegally entered the United States in 1992. In June of 1993, using her cousin’s name, Lavietore Remy, and social security number, Norelus was hired to work at a Denny’s restaurant as a dishwasher.1 She claims that shortly thereafter Asif Jawaid, the manager of the restaurant, and his roommate Raheel Hameed began to sexually assault her, both at the restaurant and at Jawaid’s home. She quit her job in May of 1994.
She reported the alleged assaults to both the owners of the restaurant and the police. The owners of the restaurant conducted a prompt remedial investigation, finding her charges baseless.2 The police also conducted an investigation, but, as the Amlongs concede in their brief, found “inconsistencies and conflicts” in Norelus’s allegations, resulting in the State Attorney’s refusal to prosecute.
In December of 1994, Norelus filed suit against Jawaid, Hameed and the various corporate defendants. Her complaint alleged, inter alia, that she was raped with a hairbrush, repeatedly forced to have oral, vaginal and anal intercourse in the restaurant, and kidnapped and taken to Jawaid and Hameed’s home where she was restrained and repeatedly raped by both of them. The district court characterized the complaint’s allegations as “extraordinarily lewd, lascivious, and sexually graphic.”
Joseph A. Chambrot signed this original complaint.3 Chambrot later testified that he made no inquiry into Norelus’s factual allegations that he included in the complaint, relying rather on his conclusion that Norelus “looked like a victim,” and that she appeared afraid and “looked like someone who had been raped.”4
Norelus’s original complaint was replaced with an amended complaint in July of 1995, and a second amended complaint in February of 1996. Both of these corn-*1255plaints were signed by Karen Amlong.5 Amlong later testified that neither she nor anyone else at her firm interviewed a single fact witness prior to the filing of the amended complaints.
As discovery progressed, the defense lawyers took the depositions of thirteen people Norelus identified in her sworn interrogatory responses as having witnessed the sexual attacks. The Amlongs concede in their brief on appeal that, after these depositions, “it was clear that there was not one witness who would collaborate [sic] her charges of sexual abuse.” The defense attorney, who deposed these witnesses, testified that the depositions revealed that:
None of these witnesses ever saw [Ja-waid] touch the plaintiff in a sexual way, they never heard any sexual comments, they never saw him follow her into the men’s room, where she claimed she was allegedly forced to perform oral sex, and, significantly, she never complained about Mr. Juad [sic] to any of these people.
Amlong later told the district court that neither she nor anyone in her firm ordered a copy of or read a single one of these deposition transcripts prior to the sanctions hearing. Amlong explained that it was her frequent practice not to interview fact witnesses, even those testifying for her client, prior to trial because they usually lied.
After the witnesses’ depositions, Norelus herself was deposed in August of 1995, and thereafter over the course of several days in January and February of 1996. During the deposition, Norelus insisted that her two brothers serve as translators. Throughout the deposition, the brothers would interpret the “meaning” of questions as well as the actual question, and simultaneously confer with Norelus’s counsel.
From the outset, Norelus’s testimony and conduct during the deposition called into question the validity of her claims. She not only forgot key details alleged in her complaints but provided several inconsistent versions of events, and even outright falsehoods. For example, in August of 1995, when asked about the name “Lav-ictore Remy,” the name she used in applying to Denny’s, she stated that she made up that name and did not know anyone by that name. She repeated this statement at the continuation of her deposition in January 1996. Again, she specifically denied having any relative or cousin by that name. Shortly after this exchange, she became belligerent and agitated, and her counsel (an Amlong associate) requested a break so that Norelus could “calm down.” Upon returning from the break, Norelus’s counsel admitted that Norelus did have a cousin named Lavictore Remy. When No-relus was asked why she had lied, she responded “What’s wrong with that?”
Even more disturbing, Norelus’s deposition testimony directly contradicted many of the allegations in her own complaint, including: (1) allegations of oral, vaginal, and anal intercourse in a walk-in freezer (deposition testimony that no sex occurred in walk-in cooler or freezer); (2) allegations of sexual intercourse inside the Meos restaurant (deposition testimony that no sexual intercourse occurred in that restaurant); (3) allegations that the managers retaliated against Norelus after she complained to the Meos owners about sexual harassment (deposition testimony that no retaliation occurred because she did not *1256complain until after her resignation); and (4) allegations of required medical treatment for the hairbrush rape (inability in deposition to provide the name of health care facility where treatment occurred).6
Instead of providing support for her claims, Norelus’s' deposition testimony further undermined her credibility by expanding her list of unsubstantiated allegations, including that she was forced to have oral sex with Jawaid every day she worked at the restaurant between June of 1993 and May of 1994, and that she had slept with over 1000 men. The district court later noted that Norelus’s testimony was “so replete with falsities, misrepresentations and contradictions that no reasonable person could have believed the allegations.”
Apparently, Norelus’s counsel were concerned as well, because they had her polygraphed twice — once, during her deposition, and again afterward.
In June of 1996, three weeks before trial was to commence, the Amlongs served an “Errata Sheet” on all defendants. This “sheet” was sixty-three pages long, and, as the majority concedes, undertook to make 868 “corrections” to Norelus’s sworn deposition testimony. It explained these changes as the result of her failure to understand what was being asked or poor translations by the interpreter (her brothers).7
Many “corrections,” however, were not mere scrivener or translation “errors.” Rather, these changes involved the substantive replacement of one sworn answer with an entirely different answer. Many of these changes, explained as “clarification of response,” supplied material details that Norelus was totally unable to remember at her deposition.
For example, Norelus’s complaint alleges that Hameed kidnapped her and took her by car to his house, where she was restrained and repeatedly raped by both Hameed and Jawaid. At her deposition, she was asked numerous times but could neither describe the car, nor the route that Hameed took when driving to the house. In the Errata Sheet, however, Norelus’s answer was changed and great detail was provided about both the car and the exact route that Hameed took to his house. This new information included many street names and precise ordinal directions for the route. In addition, her deposition testimony regarding an assault by Jawaid was almost completely changed to provide much greater factual detail. Her testimony that she could not remember the color or material of the hairbrush used to sodomize her, was replaced in the Errata Sheet with the color — light to medium brown — and the material — wood. See Errata Sheet Excerpt, Norelus, at *3, attached hereto as Appendix A.8
Other corrections the Errata Sheet sought to make to Norelus’s deposition testimony were the exact opposite of her previously sworn testimony, changing “wrong” answers to “correct” answers that *1257were consistent with the allegations of her complaint. Her deposition answer “no” to the question whether she was ever forced to have anal sex, was changed in the Errata Sheet to “yes,” as alleged in her complaint. Her deposition testimony that she did not remember anything that she told the police about the assaults was replaced in the Errata Sheet with a recollection that she told the police that the managers sexually assaulted her. Id.
After receiving the Errata Sheet, defendants moved to dismiss the case, arguing that it constituted an attempt to work a fraud on the court. The district court denied the motions, but, due to the obvious inconsistencies and “highly suspicious” nature of the Errata Sheet, ordered Norelus to resubmit to deposition.
In September of 1996, at the reopened deposition, Norelus again had no recollection of the facts the Errata Sheet had sought to make part of her deposition testimony. In addition, it became clear that some of the language in her new sworn testimony was not even hers at all, because she was unable to explain the meaning of certain words in her changed answers.9 Norelus admitted that she had lied in her original sworn testimony, but was again unable or unwilling to testify consistently or provide any credible factual support for her claims.10
The district court ordered Norelus and/or the Amlongs to pay the fees and costs associated with the reopened deposition, and to file an appendix identifying the original testimony, the changes contained in the Errata Sheet, and detailed explanations for the changes. Neither Norelus nor the Amlongs ever complied with either aspect of the district court’s order, and, in December of 1996, the court dismissed the case.11
B. The Sanctions Motions
After the case was dismissed, the defendants moved, under 28 U.S.C. § 1927 and the inherent power of the court, for the award of sanctions against Norelus and the Amlongs. Section 1927 codifies the “bad faith exception” to the American rule that litigants pay their own fees and costs. Roadway Express, Inc., v. Piper, 447 U.S. 752, 766, 100 S.Ct. 2455, 65 L.Ed.2d 488 (1980); Avirgan v. Hull, 932 F.2d 1572, 1582 (11th Cir.1991). It permits the district court to sanction counsel for the bad faith pursuit of meritless claims. Schwartz v. Millon Air, Inc., 341 F.3d 1220, 1225 (11th Cir.2003). Such sanctions are especially appropriate where counsel takes frivolous legal positions supported by scandalous accusations. Blair v. Shenandoah Women’s Center, Inc., 757 F.2d 1435, 1438 (4th Cir.1985).
Defendants’ motions for sanctions contended that the Amlongs conducted this litigation in bad faith by 1) failing to investigate Norelus’s allegations prior to filing any of the complaints, but especially after her deposition revealed her inability to credibly support her own claims; 2) ignoring record evidence demonstrating that her claims were meritless; and 3) filing an improper errata sheet in order to unreasonably and vexatiously prolong this litigation.
In January of 1997, defendants’ motions were referred to the magistrate judge for a report and recommendation. Karen Am-*1258long testified at the hearing to her conduct of the case, her belief in her client and her good intentions in the pursuit of Norelus’s claim.
In February of 1998, the magistrate filed his Report and Recommendation. He found that Norelus’s claim was frivolous because it was “unreasonable and without factual foundation,” and “always lacked credible evidence, or any evidence other than plaintiffs own unreliable recollections.” In support of his recommendation that attorney’s fees and costs be awarded against her, he specifically found that:
Here, plaintiff presented only her own changing testimony, without corroboration or support from any other witnesses or sources, which was totally or nearly totally discredited by plaintiffs numerous lapses of memory, outright lies, outlandish comments made during her deposition ....
With respect to the Amlongs, the magistrate found that:
Plaintiffs counsel accepted and believed [Norelus’s] allegations based almost exclusively on plaintiffs own recollections and initial corroboration from plaintiffs brother and a third person, and proceeded to file this lawsuit on that basis .... Almost immediately thereafter, plaintiffs allegations began to appear questionable, even to plaintiffs attorneys, due to plaintiffs several falsehoods during her deposition regarding her name, social security number and other seemingly insignificantly [sic] matters. More importantly, plaintiffs listed witnesses, including her own family members, friends, and coworkers at Denny’s, all testified contrary to plaintiffs version of the facts so that plaintiff was soon left with only her own testimony to support her claims.
The magistrate rejected the idea that the polygraph examinations excused the continued prosecution of the case, finding that “plaintiffs claims were not strengthened in any manner by the polygraph examinations she passed which seemed only to demonstrate her own attorneys’ lack of trust in the allegations of the client.”
The magistrate further found that the “preparation of the errata sheet and the procedures used to do so (i.e., translation by plaintiffs brothers and possible explanations of questions by plaintiffs counsel) was improper and should have not occurred.” Furthermore, “the numerous changes listed in the errata sheet only illuminated plaintiffs difficulty or inability to relate a consistent account of events underlying her claims.”
Ultimately, however, the magistrate recommended against sanctions for the Am-longs. He concluded that “their decision to press on with the litigation despite warnings from defendants’ counsel that the case lacked merit and might result in sanctions” was because they “genuinely believed that plaintiffs claims were meritorious despite plaintiffs inability to testify completely and truthfully about several aspects of her case.” After hearing Karen Amlong testify to her good intentions in the conduct of this case, the magistrate concluded that he could find no “bad faith, improper motive or reckless disregard of duty” that would justify sanctions.12
C. Sanctions by the District Court
After its de novo review, the district court held that the magistrate’s “findings of frivolity, lack of investigation, lack of *1259corroborating evidence, and presence of contradictory evidence” all militated in favor of the award of sanctions against the Amlongs, and that the magistrate’s recommendation to the contrary was “based on an incorrect standard, incorrect interpretation of law, and not based on the record.”
The magistrate applied an erroneous legal standard to the Amlongs’ conduct by permitting Karen Amlong’s subjective good intentions to trump what he had already found to be her objectively “improper” conduct. The correct standard for the imposition of sanctions in this circuit, the district court held, is an objective one which evaluates counsel’s conduct, not her subjective state of mind.
Furthermore, the district court held, the magistrate’s findings should have led him to the conclusion that the Amlongs’ “improper” conduct was reckless. The magistrate’s conclusion to the contrary was not, the district court held, consistent with or based upon the record (as the magistrate himself had already found it to be).
To demonstrate this, the district court catalogued the magistrate’s findings of fact regarding the Amlongs’ conduct as outlined in his Report and Recommendation:
(1) Norelus’s claim was frivolous because it “always lacked credible evidence, or any evidence other than plaintiff’s own unreliable recollections;”
(2) Norelus’s “listed witnesses, including her own family members, friends, and coworkers at Denny’s, all testified contrary to plaintiffs version of the facts so that plaintiff was soon left with only her own testimony to support her claims;”
(3) her deposition was filled with “numerous lapses of memory, outright lies, [and] outlandish comments;” (3) the Am-longs “accepted and believed [Norelus’s] allegations based almost exclusively on plaintiff’s own recollections;” and
(4)the “preparation of the errata sheet and the procedures used to do so was improper and should have not occurred.” (all emphases added)
In the context of these undisputed facts, and the magistrate’s own finding of impropriety, his failure to find the Amlong’s conduct reckless was not, the district court said, based upon or permitted by the record. A correct application of the objective test to these facts, said the district court, results in the following conclusions of law:
(1) The Amlongs’ decision not to investigate Norelus’s allegations, after her witnesses failed to support her claim, and certainly after her own falsehood-riddled deposition, constituted a reckless disregard for the merits of her claim.
(2) At least after Norelus’s deposition, the Amlongs should have known that her claim was very likely frivolous.
(3) The Amlongs’ decision to continue to pursue a frivolous claim by filing the Errata Sheet was unreasonable and vexatious and multiplied the proceedings unnecessarily, (all emphases added)
Accordingly, the court imposed Section 1927 sanctions on the Amlongs and their law firm13 from June 1996 (the date of the Errata Sheet) through March 21, 2000 (the date of the sanctions order).
The Amlongs make three arguments on appeal: that the district court erred in applying an objective standard to their conduct; that the district court abused its discretion in concluding that the Amlongs’ conduct met this standard; and that the award of attorney’s fees and costs for the *1260sanctions proceedings themselves was also an abuse of discretion.14
III.
A. Section 1927 sanctions may be imposed for objectively reckless conduct regardless of counsel’s subjective intent.
Section 1927 permits the district court to sanction litigation conduct that “unreasonably and vexatiously” multiplies the proceedings. We have long held that “bad faith is the touchstone” for the imposition of sanctions under the statute. Schwartz, 341 F.3d at 1225. Recently, we made clear that this bad faith is to be found in counsel’s objective conduct, not in her subjective state of mind. Id. Under the objective test, according to the majority, “the district court must compare the attorney’s conduct against the conduct of a ‘reasonable’ attorney and make a judgment about whether the conduct was acceptable according to some objective standard” (emphasis added). In this circuit, litigation conduct may be sanctioned if it is reckless — “by which we have mean ... a gross deviation from conduct that might be reasonable in the circumstances.” Schwartz, 341 F.3d at 1227.
After having so carefully established that the appropriate test for Section 1927 sanctions in this circuit is objective, not subjective, with citation to no less than fourteen cases, the majority then proceeds to advance the proposition — without citation to a single authority — that under the objective test:
[A] district court may impose sanctions for egregious conduct by an attorney even if the attorney acted without the specific purpose or intent to multiply the proceedings. That is not to say the attorney’s purpose or intent is irrelevant. Although the attorney’s objective conduct is the focus of the analysis, the attorney’s subjective state of mind is frequently an important piece of the calculus, because a given act is more likely to fall outside the bounds of acceptable conduct and therefore be “un-reasonablfe] and vexatiousf]” if it is done with a malicious purpose or intent (emphasis added).
Quite clearly, this is not an accurate description of the objective test. Under the objective test for bad faith, counsel’s subjective intentions are never “frequently an important piece of the calculus” in evaluating counsel’s objective conduct. We have explicitly so held. Souran v. Travelers Ins. Co., 982 F.2d 1497, 1508 (11th Cir.1993) (“‘The court should determine objectively the propriety of sanctions without conducting an exploration of the attorney’s subjective intentions’ ”) (quoting Debbie A. Wilson, Note, The Intended Application of Federal Rule of Civil Procedure 11: “An End to the ‘Empty Head, Pure Heart’ Defense and a Reinforcement of Ethical Standards,” 41 Vand. L.Rev. 343, 373 (1988)). The majority opinion even concedes elsewhere that, “it is clear from the statutory language and the case law that for purposes of § 1927, bad faith turns not on the attorney’s subjective intent, but on the attorney’s objective conduct” (emphasis added). It is counsel’s conduct, not her intentions, that is the focus of our inquiry.15
*1261The district court’s determination whether that conduct “falls outside the bounds of acceptable conduct” is governed by well-established circuit precedent. Certain litigation conduct is permissible under our law, other conduct is forbidden. Sanctions may be imposed where counsel’s conduct was forbidden.
Conduct remains forbidden even if counsel acted with the best of intentions — for example, helping her client in whom she honestly believed, press a claim contradicted by all the available evidence and supported by none. Under the objective test, a district court may not excuse counsel’s reckless conduct because she acted with an “empty head, but a pure heart.” Souran, 982 F.2d at 1508. See also Margo v. Weiss, 213 F.3d 55, 64 (2d Cir.2000) (the objective standard eliminates any empty-head, pure-heart justification for patently frivolous arguments); Thornton v. Wahl, 787 F.2d 1151, 1154 (7th Cir.1986) (under the objective test for sanctions, “[a]n empty head but a pure heart is no defense”). “To excuse objectively unreasonable conduct by an attorney would be to state that one who acts ‘with “an empty head and a pure heart” is not responsible for the consequences.’ ” Braley v. Campbell, 832 F.2d 1504, 1512 (10th Cir.1987) (quoting McCandless v. Great Atlantic and Pacific Tea Co., 697 F.2d 198, 200 (7th Cir.1983)). This is not the law in the Eleventh Circuit. In our circuit, as in most others, Karen Amlong’s pure heart may not excuse her bad conduct, if it was bad.
The district court correctly reviewed the Amlongs’ conduct to determine whether it was objectively reckless. In so doing, it adopted the magistrate’s findings of fact— undisputed and, indeed, defended by the Amlongs — that they conducted no independent investigation of the facts underlying Norelus’s claim,16 that there was no evi-dentiary support for Norelus’s allegations,17 that there was much evidence contradicting her allegations,18 that Norelus’s deposition was replete with falsehoods, contradictory testimony19 and did not factually support the allegations of her own complaint,20 and, finally, that in response to this set of circumstances, the Amlongs did not dismiss the claim but rather chose to prepare and file an 868 item errata sheet that materially changed their client’s sworn testimony.21 The district court concluded that this conduct is forbidden in our circuit, and, therefore, objectively reckless.
The majority, however, never even discusses these facts or their legal consequences. There is no discussion whatsoever in the majority opinion of whether the Amlongs’ conduct was objectively reckless. There is no case on whether what they did to investigate Norelus’s claim was reasonable under the law. There is no case on whether the Amlongs may reasonably choose to rely on their belief in their client’s story to the exclusion of any other investigation. There is no case on whether the Amlongs’ continued pursuit of Nore-lus’s claim was reasonable when it became clear there was no evidentiary support for it and much contradictory evidence. There is no case on whether, after a deposition that all agree with riddled with falsehoods, contradictory testimony and which almost completely failed to support the *1262allegations of the complaint, the Amlongs’ decision to prepare and file a 868 item “errata sheet” materially changing their client’s sworn testimony was acceptable litigation conduct. There is simply no discussion whatsoever about whether these facts support the award of sanctions.
Instead of such a discussion, the majority takes the position that these facts do not exist. According to the majority, the district court rejected the magistrate’s finding that the Amlongs filed the Errata Sheet in a good faith attempt to, as Karen Amlong testified, “set the record straight.” Instead, the majority complains, the district court found that they filed the errata sheet to “bolster the testimony,” “repair the damage,” and “coverup falsities.” The majority holds that the district court “clearly erred” when it “rejected the magistrate’s findings of fact and credibility determinations ... without a hearing.” In the majority’s view, the case must be remanded in order for the facts to be found.
This view is mistaken. It is rooted in the majority’s failure to distinguish between findings of fact regarding what the Amlongs did and credibility findings regarding their subjective good intentions in doing it. To the extent that the district court reached any conclusions about the Amlongs’ subjective intentions (there is no finding of actual bad faith in its opinion), and to the extent that these conclusions conflict with those of the magistrate, the conclusions are dicta and the conflict irrelevant. The statute requires the district court to evaluate Karen Amlong’s objective conduct — not her subjective state of mind. Having determined that what she did was reckless, the district court’s speculation as to why she did it is pure dicta. Even the majority recognizes this when it noted that the district court made these “factual findings” about her subjective intentions because it “felt obliged to justify its determination of objective bad faith” (emphasis added). Credibility findings regarding irrelevant testimony do not constitute reversible error. No remand is necessary to resolve a conflict between the district court and the magistrate that is irrelevant to the outcome of this case.
As opposed to its speculation about Karen Amlong’s subjective state of mind, the district court’s holding is that the Am-longs’ objective conduct was reckless. With respect to this conduct, all agree as to the facts. The district court adopted, rather than rejected, the magistrate’s findings of fact concerning what the Amlongs did in their pursuit of Norelus’s claim.22 Even the Amlongs do not dispute these facts. On the contrary, as we have seen above, they vigorously defend their conduct. Therefore, no remand is necessary to find these facts. These facts do not depend upon Karen Amlong’s credibility.
The only fact that depends upon Karen Amlong’s credibility is her claim to good intentions in doing what she did. Since this fact is irrelevant to the determination of her objective conduct, what is the point of remand?
*1263The majority professes to agree that, under an objective test, even fully credited good intentions may not excuse otherwise blameworthy conduct. But implicit in its insistence that Karen Amlong’s testimony must be heard is the belief that even if the things she did in pursuit of Norelus’s claim were forbidden, these things are permitted when done with good intentions. This belief is reflected throughout the majority’s opinion, which contains not one word about the objective recklessness of the Amlong’s conduct, but exhaustively cata-logues their good intentions.
But this is not the law. No amount of good intentions can legitimize otherwise forbidden litigation conduct. If what counsel has done transgresses permissible bounds, counsel may not plead good faith in doing it. Were that not so, counsel who knows that his client ought, in justice, win the case could claim good faith in suborning perjury to achieve that success.
Similarly, in this case, the Amlongs “knew” that Norelus’s story was true and that she should prevail in her claim. They believed her. Therefore, they filed her claim without any investigation whatsoever. They chose not to depose a single witness. After the defense depositions, when it became clear that every fact witness identified by Norelus had not only failed to support, but, in fact, contradicted her story, they continued their pursuit of her claim. After Norelus’s falsehood-riddled deposition, which failed to support the allegations of her own complaint, the Am-longs chose not to abandon their pursuit of her claim, but instead prepared and filed an 868 item errata sheet that, as the majority itself acknowledges, materially changed — even contradicted — Norelus’s previously sworn testimony.
The law in this circuit, which the majority never even mentions, is that such litigation conduct is objectively reckless and sanctionable. Despite Karen Amlong’s testimony that she did these things because there usually are not witnesses to such events or the witnesses usually lie, that she believed Norelus’s story, that others believed it too, and that she filed the errata sheet to “set the record straight,” our cases condemn such litigation conduct regardless of the reasons for it. Case after case in this circuit unequivocally holds that an utter failure to investigate does not satisfy counsel’s duty to the court — even if counsel considers such investigation fruitless. Case after case holds that reliance on a belief in one’s client without more is not enough to satisfy counsel’s duty to the court — regardless of the strength with which such a belief is held. Our cases are unanimous that an errata sheet that makes wholesale changes to a plaintiffs sworn deposition testimony is both improper and an abuse of the judicial process — regardless of the motive in doing so.
So, having good intentions cannot make permissible what is forbidden. The majority offers not one case in which testimony about counsel’s subjective good intentions was held to be even relevant to, much less determinative of, the objective recklessness of counsel’s conduct. I suggest there is not one.
If the Amlong’s conduct is forbidden by our cases, as both the magistrate and the district court held, then remand for reconsideration of that conduct in the light of Karen Amlong’s good intentions is unnecessary.
We have specifically so held. In direct conflict with the majority opinion, we have held that, under Section 1927, no remand to the district court is necessary where the record contains the facts of counsel’s objective conduct because, under the objective test, we may review the propriety of that conduct without testimony or findings regarding counsel’s subjective intentions. *1264Souran, 982 F.2d at 1508 (the court should determine the propriety of sanctions objectively without conducting an exploration of the attorney’s subjective intentions). Under Souran, the findings of fact in the record of this case are more than sufficient to permit our review of the district court’s decision to sanction. Id.23
The district court reviewed the undisputed facts regarding what the Amlongs did, and concluded that, under our binding precedent, this conduct was objectively reckless. I must respectfully dissent from the holding that it must do so again.24 I believe its job is done.
Our job is to review the district court’s conclusion that the Amlongs conduct was objectively reckless. Because the majority does not address this issue at all, I have included the following discussion.
B. The district court did not abuse its discretion in concluding that the Am-longs’ conduct was objectively reckless.
In this circuit, an attorney may be sanctioned under Section 1927 when she litigates in objective bad faith. An attorney litigates in objective bad faith when she recklessly pursues a frivolous claim, delaying its dismissal by unreasonably and vexatiously multiplying the proceedings. Schwartz, 341 F.3d at 1225.
“Something more than a lack of merit” is required, however, for a claim to be considered frivolous. Id. “[I]t is not sufficient that the claim be found meritless; the claim must be without a plausible legal or factual basis and lacking in justification.” Knorr Brake Corp. v. Harbil, Inc., 738 F.2d 223, 226-27 (7th Cir.1984) (cited in Torres v. City of Orlando, 264 F.Supp.2d 1046, 1053 (M.D.Fla.2003) (aff'd 88 Fed.Appx. 391 (11th Cir.2003))).
We have found claims to be frivolous where they were “groundless [and] baseless” and predicated upon “untruthful, outrageous, scandalous, and slanderous” allegations, Beard v. Annis, 730 F.2d 741, 745 (11th Cir.1984), or based upon “false and unsupported allegations.” Footman v. Cheung, 139 Fed.Appx. 144, 146 (11th Cir.2005). Other types of frivolous claims are those unsupported by any evidence at all, In re Mroz, 65 F.3d 1567, 1573, 1574-75 (11th Cir.1995), or those having no “reasonable basis in fact.” Barnes, 158 F.3d at 1214. See generally Sullivan v. School Bd. of Pinellas County, 773 F.2d 1182, 1189 (11th Cir.1985) (district court “must focus on the question whether the case is so lacking in arguable merit as to be groundless or without foundation rather *1265than whether the claim was ultimately successful”).
Additionally, counsel’s pursuit of the frivolous claim must be more than merely negligent. Schwartz, 341 F.3d at 1225. Only a conclusion of “recklessness (by which we ... mean a gross deviation from conduct that might be' reasonable in the circumstances)” will support an award of sanctions under Section 1927. Id. at 1227. The district court in Cordoba stated it well when it said that “counsel’s conduct must have sunk so far beneath a reasonable standard of competence, much deeper than mere negligence, that it became essentially indistinguishable from bad faith.” Cordoba v. Dillard’s, Inc., 419 F.3d 1169, 1178 (11th Cir.2005) (quoting Cordoba, at *7) (district court opinion).
In this circuit, counsel’s pursuit of a frivolous claim is reckless in eases lacking credibility from the outset, such as when an attorney fails to investigate adequately the allegations contained in the complaint.25 Collins v. Walden, 834 F.2d 961, 965 (11th Cir.1987) (affirming sanctions where counsel had neither direct nor circumstantial evidence of [claim] at time of filing); Torres, 264 F.Supp.2d at 1054-55 (aff'd 88 Fed.Appx. 391) (counsel sanctioned where he conducted no independent investigation, relying instead on belief in client); Barnes, 158 F.3d at 1214 (reckless to pursue claim that never had any basis in fact). This is especially true when counsel files an amended complaint that contains “baseless allegations,” thereby causing defendants to respond to such allegations a second time. Footman, 139 Fed.Appx. at 146; Byrne v. Nezhat, 261 F.3d 1075, 1116 (11th Cir.2001).
We have refused to excuse the failure to conduct an independent investigation even though counsel had “little faith in the conclusions of the [official investigators] and chose, instead, to rely on his ‘multiple interviews’ with his client.” Torres, 264 F.Supp.2d at 1054-55 (aff'd 88 Fed.Appx. 391). We have made clear that “[a] client’s good faith belief in a claim does not automatically make that claim meritorious.” Id.
In addition to claims lacking credible evidentiary support at filing, “dogged pursuit of a colorable claim becomes actionable bad faith once the attorney learns (or should have learned) that the claim is bound to fail.” In re TCI, Ltd., 769 F.2d at 445. When plaintiffs’ own witnesses have no knowledge of the facts alleged in the complaint, Avirgan, 932 F.2d at 1582, or, worse still, their testimony actually contradicts those allegations, Beard, 730 F.2d at 744, counsel is on notice that her claim is without plausible legal or factual basis. “When it becomes apparent that discoverable evidence will not bear out the claim, the litigant and his attorney have a duty to discontinue their quest,” risking sanctions if they do not. Walden, 834 F.2d at 965. See also Byrne, 261 F.3d at 1117 (counsel sanctioned for failure to withdraw frivolous claim). See generally Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422, 98 S.Ct. 694, 54 L.Ed.2d 648 (1978) (in civil rights cases, sanctions appropriate where claim is frivolous, unreasonable, or *1266groundless, or plaintiff continued to litigate after it clearly became so).
Finally, the reckless pursuit of the frivolous claim must unreasonably and vexatiously multiply the proceedings. Schwartz, 341 F.3d at 1225. We have held that the continued litigation of a claim after it becomes apparent from the discoverable facts that no evidence exists to support it multiplies the proceedings in this way. Torres, 264 F.Supp.2d at 1055 (aff'd 88 Fed.Appx. 391). We have also held that counsel multiplies the proceedings vexatiously when his conduct requires the court to spend a considerable amount of time dealing with the consequences of that conduct, including in an evidentiary hearing regarding sanctions. Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1545 (11th Cir.1993) (defense discovery intransigence required magistrate judge to deal with “countless motions,” and “necessitated an evidentiary hearing regarding sanctions, a thirty-eight page order imposing sanctions, and this appeal”).
The district court held that the Amlongs’ recklessly pursued a frivolous claim, thereby unreasonably and vexatiously multiplying these proceedings. This conclusion is reviewed for an abuse of discretion.26 The decision to sanction involves both factual and legal issues. Cooter &amp; Gell v. Hartmarx Corp., 496 U.S. 384, 399, 110 S.Ct. 2447, 110 L.Ed.2d 359 (1990). The district court must determine the factual issue of what the attorney actually did, as well as the legal issue of whether that conduct rises to a sanctionable level. Id. Both decisions, however, are reviewed merely for an abuse of discretion. Id. at 401, 110 S.Ct. 2447.
With respect to the facts, “[a] court of appeals would be justified in concluding that a district court had abused its discretion in making a factual finding only if the finding were clearly erroneous.” Id. This standard requires us to pay deference to the district court’s interpretation of the factual record before it. Anderson v. City of Bessemer, 470 U.S. 564, 573-74, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985). Thus, “[i]f the district court’s account of the evidence is plausible in light of the record viewed in its entirety, the court of appeals may not reverse it even though convinced that had it been sitting as the trier of fact, it would have weighed the evidence differently. Where there are two permissible views of the evidence, the fact finder’s choice between them cannot be clearly erroneous.” Id.
Reasonableness is the yardstick by which we measure the district court’s ultimate legal conclusion that the Amlongs’ conduct rose to a sanctionable level. In re Tutu Wells Contamination Litigation, 120 F.3d 368, 389 (3d Cir.1997). In Tutu Wells, the Third circuit held that even though sanctioned counsel advanced a plausible explanation for their conduct, there was evidence in the record to support the district court’s conclusion that they engaged in a “pattern of delay,” as well. In such circumstances the district court’s conclusion was reasonable. Id. In view of the “undisputed evidence,” the court concluded, “it was not unreasonable for the district court to conclude that the delays in the investigation were willful and in bad faith.” Id.
Finally, the district court’s decision to impose sanctions is entitled to substantial deference because it “is in the best position to review the factual circumstances and render an informed judgment as [it] is intimately involved with the case, the liti*1267gants, and the attorneys on a daily basis.” Thomas v. Capital Sec. Services., Inc., 836 F.2d 866, 873 (5th Cir.1988) (en banc). Thus, although we, of course, review the district court’s decision, “the issue is not whether we would award sanctions, but whether, applying the appropriate, deferential review standard, we must sustain the district court’s decision.” Phonome-trics, Inc. v. Westin Hotel. Co., 350 F.3d 1242, 1250 n. 10 (Fed.Cir.2003) (affirming sanctions awarded by a district court in the Southern District of Florida and applying Eleventh Circuit law under 28 U.S.C. § 1927).
1. The Amlongs recklessly pursued a frivolous claim.
Karen Amlong testified that because she believed her client, she did not interview any of the people Norelus claimed to have witnessed the incidents of abuse prior to filing the amended complaints. Even after the witnesses’ depositions revealed that none supported her version of events at all, counsel admits she did not believe it necessary to order any of the transcripts to evaluate this testimony, nor to conduct any further inquiry. In sum, counsel’s belief in her client was premised neither on facts nor on any investigation; she literally had no evidence, other than Nore-lus’s story, prior to filing any of the amended complaints (to which defendants were obliged to respond again) that Jawaid or Hameed committed any of the acts alleged in those complaints.27 Nor was there ever any such independent evidence.
On the other hand, there was much evidence that Norelus’s claims were not credible. The employers’ remedial investigation revealed no wrongdoing. The police investigation revealed such “inconsistencies and contradictions” that the State Attorney did not prosecute. There was not one witness, as the Amlongs concede in their brief, who could corroborate her charges of sexual abuse. On the contrary, the witnesses directly contradicted her story, testifying that they never saw any sexual harassment or improper sexual comment, except by Norelus herself.28 When Norelus herself was deposed, the “inconsistencies” and outright lies in her own testimony were apparent even to counsel, causing them to have her polygraphed. Nonetheless, counsel continued to press this demonstrably unsupported claim, without engaging in any investigation of Norelus’s allegations.
Based upon these undisputed facts, the district court found, as did the magistrate, that Norelus’s claim was frivolous because it “always lacked credible evidence, or any evidence other than [her] own unreliable recollections” and that the Amlongs “undertook no reasonable investigation prior to filing any of the Complaints or at any point during the pendency of this litigation,” choosing, instead, to continue to rely on Norelus’s unsubstantiated story. The district court concluded that this conduct was reckless.
The Amlongs argue that the district court abused its discretion in concluding *1268that their conduct was reckless because they relied on their client’s belief in her “core allegations.” We have previously held, however, that “[i]f an attorney has failed to conduct a reasonable inquiry into the matter, then the court is obligated to impose sanctions even if the attorney had a good faith belief that the claim was sound.” Mroz, 65 F.3d at 1573. It will not do to rest upon a “gut feeling” that one’s client is a victim. See Blue, 914 F.2d at 541. As the Fourth Circuit warned in Blue:
Undoubtedly there are instances in which an attorney acts irresponsibly by failing to investigate the facts behind his client’s claim and by instead relying solely on the client’s testimony to support his case. “Counsel cannot escape liability, as they attempt to here, by relying solely on their belief that their clients genuinely feel that they were not fairly treated.” “No longer is it enough for an attorney to claim that he acted in good faith, or that he personally was unaware of the groundless nature of an argument or claim.”
Id. at 542 (citations omitted). Thus, the Amlongs’ good faith in their belief in their client does not insulate them from the requirements of the federal rules to investigate the claims they bring to the court. “Blind reliance on the client is seldom a sufficient inquiry .... ” Southern Leasing Partners, Ltd. v. McMullan, 801 F.2d 783, 788 (5th Cir.1986).
Nor did their belief in their client permit the Amlongs to ignore the testimony of all Norelus’s own witnesses that indicated that she was lying. In this case, as in Blue, “the only ‘evidence’ ever advanced by plaintiffs on their claims were their own ‘unsubstantiated, self-serving, contradictory, and inconsistent claims of discrimination.’ ” Id. at 543 (internal citations omitted). In the face of such unsubstantiated claims:
[C]ounsel cannot simply rely on a client’s patently incredible testimony when any reasonable investigation of the factual bases for the client’s claims or examination of materials obtained in discovery would reveal the paucity and implausibility of the evidence.
Id. at 543.29
Similarly, in Byrd v. Hopson, 108 Fed.Appx. 749 (4th Cir.2004), the Fourth Circuit affirmed an award of sanctions where:
[Biased on a reasonable investigation of the facts and law, [counsel] should have quickly recognized that [the plaintiffs] claims were groundless. The court noted that [the plaintiffs] version of events underlying this lawsuit contained numerous inconsistencies and that the witnesses with whom [counsel] spoke in investigating the case lacked credibility [and] almost all of the information allegedly known by these individuals was hearsay, rumor, or-speculation.
Id. at 755. In this case, Norelus’s witnesses had no knowledge of any improper conduct at all.
On the other hand, we have declined to affirm sanctions where counsel, when *1269“hints of problems with the cases” arose, promptly made inquiries so that questioned claims could be further investigated and thus “acted reasonably or close to reasonably in the circumstances.” Schwartz, 341 F.3d at 1226, 1227 n. 6. In contrast, the Amlongs did nothing when “hints of problems” arose in Norelus’s case.30
Therefore, I conclude that the district court did not abuse its discretion in finding that the Amlongs’ belief in their client was unreasonable because it was:
[PJremised neither on facts nor reasonable investigation. Counsel had literally no evidence beyond Plaintiffs incendiary and contradictory descriptions that Defendants committed any of the acts alleged in the Complaint.
In view of this finding, it was not unreasonable for the district court to conclude that the Amlongs pursuit of Norelus’s claim was reckless. Although the Am-longs protest that they prosecuted this case in a straightforward way and in their usual manner, as the district court said in Torres “[s]uch conduct would be fine, if the case was worth prosecuting in the first place. It was not.” 264 F.Supp.2d at 1055 (aff'd 88 Fed.Appx. 391).
2. The filing of the Errata Sheet recklessly multiplied the proceedings.
As with the failure to investigate, the Amlongs do not dispute that they helped Norelus to prepare and then filed the Errata Sheet, nor that the changes described here are in that document. At issue is the reasonableness of the district court’s legal conclusion that the filing of the Errata Sheet with those changes recklessly multiplied these proceedings.
The Amlongs maintain that Rule 30(e) “in no way limits the types and number of changes” that an errata sheet is permitted to make to a prior deposition.31 The majority seems to agree, noting without comment or objection that Norelus’s sworn testimony was changed 868 times by the Errata Sheet. Although early cases may have given the impression that such changes are permissible, the rule is, and was at the time the Amlongs filed the Errata Sheet, to the contrary.
In 1996, when the Amlongs submitted the Norelus Errata Sheet, this rule was already clear. Four years earlier, in Greenway v. Int’l Paper Co., 144 F.R.D. 322, 325 (W.D.La.1992), the court noted that “[a] deposition is not a take home examination.” The court said:
The purpose of Rule 30(e) is obvious. Should the reporter make a substantive error, i.e., he reported “yes” but I said “no,” or a formal error, i.e., he reported the name to be “Lawrence Smith” but the proper name is “Laurence Smith,” then corrections by the deponent would be in order. The Rule cannot be interpreted to allow one to alter what was *1270said under oath. If that were the case, one could merely answer the questions with no thought at all then return home and plan artful responses.

Id.

Similarly, in 1994, the United States District Court for the District of Columbia noted that:
Defendant ... argues that Rule 30(e) allows her to make any substantive change she so desires. While older cases appear to support this position, later cases have often limited this blank check; perhaps because of the potential for abuse.
SEC v. Parkersburg Wireless Ltd. Liability Co., 156 F.R.D. 529 (D.D.C.1994).
The United States District Court for the Middle District of North Carolina, in 1986, sanctioned the plaintiffs attempt to “correct” her deposition “with a 7-page correction list with over 100 corrections in a 260-page deposition, changing ‘yes’ to ‘no’ and vice versa.” Barlow v. Esselte Pendaflex Corp., 111 F.R.D. 404, 406 (M.D.N.C.1986). The court inferred bad faith from the “manner and number of changes” the errata sheet proposed, characterizing the conduct as “harassing” and causing “unnecessary delay and costs.” Id.
In Rios v. Bigler, 847 F.Supp. 1538, 1546—47 (D.Kan.1994), the district court, citing Greenway, held that it would consider only those errata sheet changes that clarified the deposition, and not those that materially altered it.
Recent decisions by several courts of appeals, including our own, affirm this interpretation of Rule 30(e). The Tenth Circuit has said, “We do not condone counsel’s allowing for material changes to deposition testimony and certainly do not approve of the use of such altered testimony that is controverted by the original testimony.” Garcia v. Pueblo Country Club, 299 F.3d 1233, 1242 n. 5 (10th Cir.2002); accord Burns v. Board of County Com’rs of Jackson County, 330 F.3d 1275, 1281-82 (10th Cir.2003) (analogizing to rule that affidavit may not be used to contradict prior sworn testimony). Similarly, the Seventh Circuit has held that “a change of substance which actually contradicts the transcript is impermissible unless it can plausibly be represented as the correction of an error in transcription, such as dropping a ‘not.’ ” Thorn v. Sundstrand Aerospace Corp., 207 F.3d 383, 389 (7th Cir.2000) (calling such an errata sheet a “foolish tactic”).
We too have affirmed a district court’s decision to disregard an errata sheet that attempted to make material changes to a deposition on the grounds that the deponent was “confused” at the time of the deposition. Reynolds v. IBM, Corp., 320 F.Supp.2d 1290, 1301 (M.D.Fla.2004), aff'd 125 Fed.Appx. 982 (11th Cir.2004) (approving district court’s decision to disregard errata changes where deponent did not exhibit any obvious confusion during deposition). Similarly, Norelus’s initial sworn answers of “yes” or “no” do not reflect any confusion that should have been “clarified” by the substitution of the exact opposite answer, along with great detail.
The Amlongs contend that the changes made by their Errata Sheet did not materially alter the substance of Norelus’s answers. Karen Amlong testified that the changes were really only “immaterial or elaborations,” and not “really significant.”
The district court’s careful review of the changes, attached hereto as Appendix A, led it to find otherwise. For example, Norelus’s deposition answer “no” to the question whether she was ever forced to have anal sex, was changed in the Errata Sheet to “yes,” as alleged in her complaint. Her deposition testimony regarding an assault by Jawaid was almost completely changed to provide much greater factual detail. Her testimony that she could not remember the color or material of the *1271hairbrush used to sodomize her, was replaced in the Errata Sheet with the col- or — light to medium brown — and the material — wood. Her deposition testimony that she did not remember anything that she told the police about the assaults was replaced in the Errata Sheet with a recollection that she told the police that the managers sexually assaulted her. Her deposition testimony that she could not remember anything about the car Hameed put her in or the route they took when he kidnapped her and drove her to his house where she was restrained and repeatedly raped by both Hameed and Jawaid, was replaced in the Errata Sheet with great detail about both the car and the exact route that Hameed took to his house, including many street names and precise directions for the route.
Rather than simply correcting inaccuracies of transcription or mistakes of translation, the district court found that the Errata Sheet changes bolstered Norelus’s case by supplying the support for the allegations of her complaint that was glaringly missing in the original deposition. This finding by the district court is not clearly erroneous.
Nor do I find unreasonable the district court’s legal conclusion that the filing of this Errata Sheet was reckless. The district court concluded that, “[c]oupled with the complete lack of supporting evidence in this case, the nature and quantity of entries on the Errata Sheet — which bolstered inconsistencies or covered up falsities, and thereafter the Plaintiffs inability to factually support the errata changes at the subsequent deposition — demonstrate bad faith and willful disregard for the judicial process by [the Amlongs].” See Barlow, 111 F.R.D. at 406 (inferring bad faith from a similar errata sheet); Greenway, 144 F.R.D. at 825.
The Amlongs contend that such a conclusion of bad faith is precluded because the filing of the Errata Sheet was their good faith effort to “set the record straight” and because the “corrections” opened Norelus up to potentially devastating cross-examination. This argument, however, ignores the plain fact that without the Errata sheet, Norelus had no case at all. The district court found that the Errata Sheet was an effort to “repair the damage” to her deposition by providing factual support to an otherwise dismissible case. Specifically, the court found:
[T]he Court’s close examination of the 868 errata changes indicates a concerted effort to provide factual support to an otherwise meritless case. The information included in the errata changes forms the factual backbone of Plaintiff's case and is unsupported by Plaintiffs deposition, both before and after the preparation of the errata changes (emphasis added).
There is no clear error in this finding. See Footman, 139 Fed.Appx. at 145 (rejecting counsel’s characterization as “more truthful and accurate” his “corrections” to sworn interrogatory answers that bolstered case).
The Amlongs also contend that it was not reasonable for the district court to conclude that their filing of the Errata Sheet was in objective bad faith because the magistrate ultimately held that, since they believed in their client, they engaged in nothing more than zealous advocacy. But this reliance on the magistrate’s legal conclusion is misplaced. As I have pointed out above, in conducting its de novo review of the motions for sanctions, the district court is entitled to make whatever use it sees fit of the magistrate’s Report and Recommendation. In rejecting an almost identical argument, the Third Circuit in Tutu Wells said:
[The sanctioned law firm] relies on a report by a magistrate judge concluding *1272that the firm’s actions during the investigation amounted to nothing more than zealous advocacy in representation of its clients and therefore did not warrant sanctions. The firm submits that the district court had no basis to disagree with the magistrate judge’s conclusions. However, the district court in that instance did not owe the magistrate judge any deference. Further, the undisputed evidence makes it clear that it was not unreasonable for the district court to conclude that the delays in the investigation were willful and in bad faith.
120 F.3d at 389 (emphasis added). Similarly, in this case, while the Amlongs advance an exculpatory explanation for their conduct — zealous advocacy- — there was ample evidence in the record to support the district court’s finding of recklessness instead, and, therefore, its conclusion was not unreasonable.
Furthermore, the Amlongs’ decision to file the Errata Sheet, instead of “discontinuing] their quest,” Walden, 834 F.2d at 965, clearly multiplied the proceedings. We have affirmed sanctions for multiplying the proceedings where counsel chose to continue to litigate a claim after he should have known that no evidence even remotely suggested that the claim had merit. Torres, 264 F.Supp.2d at 1055 (aff'd 88 Fed.Appx. 391).
Based upon these findings, the district court’s legal conclusion that the filing of the Errata Sheet was reckless and multi-. plied these proceedings was not unreasonable.
3. The district court’s ultimate decision to sanction the Amlongs’ conduct was not an abuse of discretion.
In sum, the district court found that, despite their good faith belief in Norelus’s story, the Amlongs had a duty to investigate her allegations, which had they fulfilled, would have revealed to them the frivolity of her case. In view of the failure of her own fact witnesses to support her story, and especially after her own falsehood-riddled deposition, in which she too failed to provide evidentiary support for her claim, they were obligated to but did not investigate to determine if there was any evidentiary support at all for her claim.32 Instead, they prepared and filed an 868 item errata sheet that had the effect of bolstering Norelus’s deposition testimony by eliminating inconsistencies and outright lies, and providing support for what was otherwise a patently frivolous case. Concluding that the Amlongs recklessly pursued a frivolous claim and multiplied these proceedings, the district court held their conduct sanctionable, and exercised its discretion to impose sanctions.33 I would affirm this decision.
C. The district court did not abuse its discretion in awarding costs and fees for the sanctions proceedings.34
Section 1927 requires a “nexus” between the amount claimed as a sanction and the *1273sanctionable conduct itself. Peterson v. BMI Refractories, 124 F.3d 1386, 1396 (11th Cir.1997). The district court awarded fees, costs and expenses from the date of dismissal of Norelus’s complaint through the date of the sanctions order. The Amlongs object to the inclusion of fees and costs for the sanctions proceedings themselves.
We review the amount of the sanctions awarded by the district court for an abuse of discretion, and, as we have often said, give great deference to the district court’s decision to:
[IJmpose whatever sanctions appear appropriate to combat the expense, inefficiency and backlog which the judicial process suffers because of wrongfully filed complaints and motions. It is the District Court Judge who sits at this bottleneck and who most accurately perceives the harms which rightful litigants suffer because of [rule] violations. No one is better situated to perceive the measure of the sanction.
Walden, 834 F.2d at 966.
The majority of cases hold that fees and costs in connection with the sanctions proceedings themselves may be awarded as the product of the sanctionable conduct See Tutu Wells, 120 F.3d at 388 (citing Kirk Capital Corp. v. Bailey, 16 F.3d 1485 1491 (8th Cir.1994); Silva v. Witschen, 19 F.3d 725, 733 n. 15 (1st Cir.1994); Brandt v. Schal Assocs., Inc., 960 F.2d 640, 649-51 (7th Cir.1992); In re Stauffer Seeds, Inc., 817 F.2d 47, 50 (8th Cir.1987)). See also Chambers v. NASCO, Inc. 501 U.S. 32, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991) (affirming award of sanctions based in part on the costs associated with the sanctions proceedings themselves, although not directly addressing the issue).35
There is no reason to categorically exclude from a sanction award the attorney’s fees and costs arising from the sanctions proceedings themselves, and I agree with the Third Circuit that such an exclusion is unwise. Tutu Wells, 120 F.3d at 387.36 As that court said:
*1274The time, effort, and resources expended in bringing sanctionable conduct to light would have been unnecessary had the sanctionable conduct never occurred. These costs are as much a harm to a party in the litigation as is the delay in the litigation or the substantive prejudice caused by the conduct. If we exclude from a possible award the costs of sanctions proceedings, we would undermine the compensatory goal of a sanctions award. Further, if a party is aware ex ante that the costs he incurs in exposing sanctionable conduct will never be recouped, that party may decide to forgo a sanctions proceeding altogether. In so doing, however, that party might allow otherwise sanctionable conduct to go unaddressed. In such cases, the deterrent goal of a sanction award has been lost; parties who know that the likelihood of facing a sanction proceeding are low may engage in sanctionable conduct more often.
Id. at 388. Therefore, I agree with the district court that it has the discretion to award attorney’s fees arising from the sanctions proceedings themselves.
In this case, litigation over the sanctions motions has occupied the parties for the past ten years. The time, effort, and resources expended in these proceedings has been “as much a harm to [these defendants] as is the delay in the litigation or the substantive prejudice caused by the conduct.” Id. I agree with the Tenth Circuit that when “attorneys engage in scorched earth tactics to challenge such a fee award, a refusal to permit recovery of additional fees for defending that award would allow counsel to dilute the value of the original award or force the recipient to abandon that award entirely.” Glass v. Pfeffer, 849 F.2d 1261, 1266 (10th Cir.1988). Therefore, I would find no abuse of discretion in the district court’s determination that sanctions from the date of the Errata Sheet to the date of sanctions order are appropriate in this case. I believe the award should be affirmed.
IV.
For the foregoing reasons, I believe the district court’s judgment awarding sanctions is due to be affirmed in all respects, and, I must respectfully dissent from the majority’s conclusion to the contrary. This interminable litigation is now returned to the district court for further proceedings. The district court is told that it must hold yet another hearing to determine the counsel’s sincerity in the conduct of this case. The majority, however, fails to instruct the district court what place these facts may have in its ultimate decision whether to reimpose sanctions. I suggest that they have no place at all.
Appendix A
2. The Errata Sheet
The Errata Sheet was sixty-three pages long and made 868 changes to Plaintiffs sworn deposition answers, and sought to explain material changes to Plaintiffs testimony through four broad categories: (1) “Did not understand what was being asked”; (2) “Refreshed recollection”; (3) “Poor translation by interpreter”; and (4) “Clarification of response.” (See Errata Sheet at 1.) The following are examples of purported material changes in testimony:
*1275[[Image here]]
*1276[[Image here]]
(See generally, Errata Sheet, dated June 14, 1996 (hereinafter “Errata Sheet”) (annexed hereto as Appendix A.))

. Norelus admitted to completing a false Immigration and Naturalization Service 1-9 Employment Eligibility Form in connection with her Denny’s application, using the name of her cousin, “Lavietore Remy.” She also admitted to filing false 1993 and 1994 income tax returns under the same name.


. As to the relevance of this fact, the Amlongs state in their brief that "[vjirtually every employment case that we have has a prompt remedial investigation that shows no liability. If that stopped us we would never try a case.”


. Norelus had originally consulted with Debra Valladares. Valladares, who knew little about Title VII claims, associated Chambrot, an attorney with trial experience.


. Nor did Chambrot rely on any investigation conducted by Valladares. Valladares testified that, prior to undertaking to represent Nore-lus, she spoke only with Norelus, her two brothers, and David Hill, a former client who brought Norelus to her. (Valladares testified that she had defended Hill against allegations that he committed assault and sexual harassment while a Denny’s employee. Hill settled the lawsuit with a monetary payment to the plaintiff.) Subsequently, Valladares spoke with only two potential witnesses — Edmund Reed and John Green. Neither of these two men witnessed any sexual harassment of No-relus by Jawaid or Hameed. Green, a regular patron of Denny’s, told Valladares that he felt sorry for Norelus because she was made to clean bathrooms and Jawaid seemed to treat her as a "slave.” When defense counsel deposed him later (with an Amlong attorney present), Green testified that a “female attorney” who identified herself as Norelus's attorney offered him money for false testimony supporting Norelus's claim, but he refused. Green did not remember her name, and he died before the sanctions hearings.


. Chambrot was familiar with another pending sexual harassment suit against a different Denny's restaurant filed by Karen Amlong, and referred the Norelus matter to Amlong prior to filing the original complaint, but no retainer agreement had been executed, so Chambrot signed that complaint. The Am-longs commenced their formal representation after receiving the retainer agreement some two months later.


. Nor was there every any other sort of evi-dentiary support for these allegations.


. The Errata Sheet was the product of a conference attended by an associate of the Am-long firm, Norelus and her two brothers (also identified by her as fact witnesses). Norelus’s brothers not only translated the deposition, but interpreted and “clarified” the meaning of the deposition questions and Norelus’s pri- or answers.


.The district court prepared an excerpt from the Errata Sheet highlighting some of the 868 changes. It is attached hereto as Appendix A. The entire sixty-three page Errata Sheet was appended to the district court's order awarding sanctions. See at * Appendix A.


. The district court found that many statements in the Errata Sheet could not fairly be attributed to Norelus herself.


. The Amlongs concede in their brief that “[t]he [deposition] finally came to an end on the third day when ... all counsel reached an implicit understanding that little purpose would be served in continuing the process.”


.At this point, the Amlongs withdrew from her representation.


. All defendants filed timely objections to the magistrate’s Report and Recommendation. The Amlongs did not file any objections to the Report and Recommendation, and they do not now contest the district court's findings of fact, with the exception of the ultimate fact that their conduct was reckless, in any material way.


. Authorized by Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1544 (11th Cir.1993).


. The majority opinion does not address the second or third issue at all.


. Of course, counsel's bad intentions, in a particular case, if proved, may become a factor in the district court's ultimate decision to sanction. But this is not, as the majority asserts, because those subjective intentions are somehow relevant to our evaluation of her objective conduct. On the contrary, counsel’s bad intentions remain irrelevant to that evaluation. The district court must first determine whether counsel’s conduct was objectively reckless. Having so found, the district court has the discretion to sanction that conduct or not. Clearly, the presence of actual bad faith *1261in a case might tip the balance in iavor of sanctions.


. Because witnesses usually lie.


. Because such attacks normally do not occur where others can see them.


. Because witnesses usually lie.


. Because she was confused.


. Because there were translation errors.


. Because they wanted to set the record straight.


. Even if the district court had rejected the magistrate’s fact findings, however, it would have committed no error. In its de novo review of the sanctions motions, the district court is entitled to “accept, reject, or modify, in whole or in part, the findings or recommendations made by the magistrate.’’ United States v. Raddatz, 447 U.S. 667, 673-74, 100 S.Ct. 2406, 65 L.Ed.2d 424 (1980). Furthermore, in its review, “Congress intended to permit whatever reliance a district judge, in the exercise of sound judicial discretion, chose to place on the magistrate’s proposed findings and recommendations.” Mathews v. Weber, 423 U.S. 261, 273, 96 S.Ct. 549, 46 L.Ed.2d 483 (1976). Nor is the district court required to rehear the evidence. United States v. Marshall, 609 F.2d 152, 155 (5th Cir.1980) (district court may base factual determinations on record, including transcript of hearing before judge).


. The majority dismisses Souran as inappo-site because it is a Rule 11 case. After conceding that “many of the same principles apply” to both sanctions statutes, the majority finds significance in the fact that the statutes are "different sources of authority” and in the fact that Rule 11 "is aimed primarily at pleadings” and "addresses the conduct of both parties and attorneys.” The majority, however, never gets around to addressing the central reason why Souran is, in fact, applicable to this case — because both Rule 11 and Section 1927 impose sanctions on objectively bad conduct, without regard to counsel's state of mind. In their use of the objective standard for sanctions, there is no difference whatsoever between the two statutes.
Nor have I relied upon dicta in Souran, as the majority suggests. I have cited Souran for the proposition that remand is unnecessary where the record contains the facts of counsel’s objective conduct, even if it fails to inform us of her state of mind. In Souran, the court held quite explicitly that remand to develop the record as to counsel’s intentions was unnecessary because the court's inquiry was limited to counsel’s conduct — not her state of mind.


. But this time after yet another hearing during which Karen Amlong will testily at length to her totally irrelevant good intentions.


. The federal rules impose a duty upon counsel to certify that they have conducted a reasonable inquiry under the circumstances and have determined that any papers filed with the court are well-grounded in fact, legally tenable, and not interposed for any improper purpose. See Cooter &amp; Gell, 496 U.S. at 398, 110 S.Ct. 2447 (“Baseless filing puts the machinery of justice in motion, burdening courts and individuals alike with needless expense and delay”). Although the "reasonable inquiry” standard is located in Rule 11, "courts using an objective standard of vexa-tiousness look to whether an attorney knew or should have known that the claims pursued were frivolous.” Torres, 264 F.Supp.2d at 1054 n. 19.


. To the extent that the Amlongs imply that the district court applied a mere negligence standard to their conduct, I disagree. The district court clearly held that the Amlongs' conduct was recklessly indifferent to the merits of their client's claims, and that the Errata Sheet vexatiously multiplied the proceedings.


. Amlong testified that she "faxed a form complaint” to Valladares, and at Amlong's direction, an associate of hers provided “technical assistance” and guidance to Valladares for purposes of copying, "cutting and pasting,” and preparing what became the original complaint in this action.


. The witness testimony was that she "came to work happy, friendly, she would joke about sex at work and engage in sexually graphic innuendo.” The majority comments that "some witnesses suggested that Jawaid and Norelus might have had a consensual sexual relationship,” and that "Amlong said she hoped to exploit these inconsistencies at trial to cast doubt on the witnesses’ veracity and draw out unrevealed facts of the story.” I find this comment astonishing. If Norelus and Jawaid had a consensual sexual relationship, this whole case was a sham and an abuse of the judicial process!


. The Fourth Circuit quoted at length from the district court's opinion on this point:
Defendant had produced an enormous amount of discovery — much of it clearly unrebutted by any credible evidence in plaintiffs' possession .... Counsel, certainly by this time ... had no reasonable basis upon which to rely on either plaintiff. Significant gaps and inconsistencies existed in plaintiffs' respective versions of events mandating that counsel question their perception of discrimination .... Here, access to investigate plaintiffs’ stories was virtually unchecked. Yet, [plaintiffs'Jclaims were filed, and ... continued, apparently without any objective thought as to their merit.
914 F.2d at 543.


. I would not hold, as the majority seems inclined to do, that having one’s client poly- , graphed is an acceptable substitute for reasonable investigation and evaluation of the discovered facts. First of all, the only thing that the polygraph examination "proves” is that the examinee believes her own story. This, however, is not the measure of a color-able claim. Secondly, the purpose of discovery is to elicit objective facts so that, to the extent possible, the fact finder is relieved of the burden of divining the truth through an electronic swearing match. Similarly, I reject the notion that a psychologist’s opinion that the client believes her own story is sufficient to satisfy counsel’s duty to investigate.


. The Amlongs do concede that errata sheet changes that "materially alter the substance” of the client's testimony are sanctionable when done in actual bad faith. See Combs v. Rockwell Int’l Corp., 927 F.2d 486, 488-89 (9th Cir.1991) (sanctioning changes that included "reversals of [plaintiff’s] answers to key questions”).


. I reject Karen Amlongs’ apparent theory that she could rely on Norelus’s story because "When I found out we had a female judge, I was just delighted, because I felt that if one woman looks at another woman and simply listens to this woman tell her story, she’s going to believe her .... ”


. Although the majority parses out the district court's decision to award sanctions for the re-opening of Norelus's deposition, I see no reason why these costs and fees are not properly awarded under Section 1927 for the same reasons I have given above.


. The majority opinion does not address this issue at all because it does not rule on the merits of sanctions. I include this discussion for the same reasons that I outlined above— that should the district court reimpose sanctions, this issue should be resolved in the interests of judicial economy.


. Although there is some authority for the proposition that fees and costs for the sanctions proceedings may not be awarded, see Blue, 914 F.2d at 548-49, contrary to the Amlongs' assertion, Blue is not the “basic law” on this issue. Bluehas been followed on this issue in only two reported decisions. In fact, even in the Fourth Circuit itself, such awards have been made. Giganti v. Gen-X Strategies, Inc., 222 F.R.D. 299, 316 n. 26 (E.D.Va.2004) (fees incurred in filing, preparing and presenting a sanctions motion are properly included in determining the appropriate sanctions award); Ballentine v. Taco Bell Corp., 135 F.R.D. 117, 126 (E.D.N.C. 1991) (awarding sanctions to compensate defendant for attorneys’ fees incurred in preparing and presenting sanctions motion) In an unpublished disposition, even the Fourth Circuit itself has said that “[a] district court may properly include in a Rule 11 sanction attorney’s fees and expenses that the opponent incurred in establishing the Rule 11 violation.” Wassel v. Samuel, 46 F.3d 1130 at *2 (Table) (4th Cir.1995). In the context of Rule 11, of course, the 1993 amendments now specifically permit such awards. Rule 11(c)(1)(A); Margolis v. Ryan, 140 F.3d 850, 855 (9th Cir.1998) (1993 amendments to Rule 11 overrule previous cases disallowing such fees).
Nor is the rule of these cases limited to the imposition of sanctions under Rule 11 as the Amlongs assert. In Tutu Wells, where sanctions were awarded under a variety of theories including Section 1927, the Third Circuit explicitly stated that its analysis of the propriety of that award, which included the costs of the sanctions proceedings themselves, "does not make a distinction between inherent powers sanctions and statute-based or rule-based sanctions. In respects relevant to our discussion, the sanctioning tools are the same.” 120 F.3d at 387 n. 21.


. As noted above, Congress amended Rule 11 in 1993 to specifically permit the award of fees and costs for the prosecution of the sanctions motions. Rule 11(c)(1)(A). Even prior to the amendment, as the Amlongs acknowledge, we too permitted such an award under Rule 11. Mike Ousley Productions., Inc. v. WJBF-TV, 952 F.2d 380, 384 (11th Cir.1992).

